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                                   UNITED STATES BANKRUPTCY COURT

                                 FOR THE DISTRICT OF SOUTH CAROLINA

IN RE:                                                   C/A No. 19-05007

Candace Anitrel Page                                     Chapter 13

(Set forth here all names including married, maiden,
and trade names used by debtor within the last 8
years.)
                                       DEBTOR(S),

Address:
505 Farm Springs Road
Summerville, SC 29483

Last four digits of Social Security or Individual Tax-
Payer-Identification (ITIN) No(s)., (if any):
5514

                                   NOTICE OF OPPORTUNITY TO OBJECT

         The debtor(s) in the above captioned case filed a Chapter 13 plan on October 3, 2019. The plan is attached.

        Your rights may be affected by the plan. You should read the plan carefully and discuss it with your
attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish to consult
one.)

         Any objection to confirmation of the Chapter 13 plan must be in writing filed with the Court at 145 King
Street, Room 225 Charleston, SC 29401 and served on the Chapter 13 trustee, the debtor(s), and any attorney for the
debtor(s) no later than 21 days after the service of the Chapter 13 plan, as computed under Fed. R. Bankr. P.
9006(a). Objections to confirmation may be overruled if filed late or the objecting party fails to appear and
prosecute the objection. If no objection is timely filed, the plan may be confirmed by the Court without further
notice.

         If you file an objection, you or your attorney must attend the hearing scheduled by the court on
confirmation of the plan. Notice of the confirmation hearing is provided in section 9 of the Notice of Chapter 13
Bankruptcy Case. However, the Court may set an earlier status hearing on any objection upon notice to the
applicable parties.

          If you or your attorney do not take these steps, the court may determine that you do not oppose the terms or
relief sought in the plan and may enter an order confirming the plan.


DATE       10/3/19                                             /s/ Heather S. Bailey
                                                               Heather S. Bailey
                                                               Moss & Associates Attorneys, P.A.
                                                               Attorney for Movant/Movant
                                                               D.C. ID # 11592
                                                               2170 Ashley Phosphate Road, Suite 405
                                                               North Charleston, South Carolina 29406
                                                               (843) 744-3002
               Case 19-05007-jw                         Doc 13       Filed 10/03/19 Entered 10/03/19 12:42:39                       Desc Main
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 Fill in this information to identify your case:
 Debtor 1               CANDACE ANITREL PAGE                                                                           Check if this is a modified plan, and
                              First Name            Middle Name            Last Name                                   list below the sections of the plan that
                                                                                                                       have been changed.
 Debtor 2
 (Spouse, if filing) First Name      Middle Name            Last Name
 United States Bankruptcy Court for the:         DISTRICT OF SOUTH CAROLINA                                            Pre-confirmation modification
                                                                                                                       Post-confirmation modification
 Case number:                 19-05007
 (If known)




District of South Carolina
Chapter 13 Plan                                                                                                                                          5/19

 Part 1:       Notices

To Debtor(s):              This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                           indicate that the option is appropriate in your circumstances. Plans that do not comply with the Bankruptcy Code, the
                           Federal Rules of Bankruptcy Procedure, this Court’s local rules, and judicial rulings may not be confirmable.

                           In the following notice to creditors, you must check each box that applies

To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                           You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                           an attorney, you may wish to consult one. Failure to object may constitute an implied acceptance of and consent to the relief
                           requested in this document.

                           If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file a timely objection to
                           confirmation. To determine the deadline to object to this plan, you must consult the Notice of Bankruptcy Case or
                           applicable Notice/Motion served with this plan. The Bankruptcy Court may confirm this plan without further notice if no
                           objection to confirmation is filed. See Bankruptcy Rule 3015. In addition, pursuant to Federal Rule of Bankruptcy Procedure
                           3002, you must file a timely proof of claim in order to be paid under any plan. Confirmation of this plan does not bar a party in
                           interest from objecting to a claim.

                           The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
                           plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision
                           will be ineffective if set out later in the plan.

 1.1          A limit on the amount of a secured claim, set out in Section 3.2, which may result in              Included                    Not Included
              a partial payment or no payment at all to the secured creditor
 1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,                Included                    Not Included
              set out in Section 3.4.
 1.3          Nonstandard provisions, set out in Part 8.                                                         Included                    Not Included

 1.4          Conduit Mortgage Payments: ongoing mortgage payments made by the trustee                           Included                    Not Included
              through plan, set out in Section 3.1(c) and in Part 8

 Part 2:       Plan Payments and Length of Plan

2.1       The debtor submits to the supervision and control of the trustee all or such portion of future earnings or other future income as is necessary
for the execution of the plan.

Unless all allowed claims (other than long-term claims) are fully paid pursuant to the plan, the debtor will make regular payments to the trustee as
follows:

$709.00 per Month for 57 months

Insert additional lines if needed.



The debtor and trustee may stipulate to a higher payment in order to provide adequate funding of the plan without the necessity of a modification to
the plan. The stipulation is effective upon filing with the Court.


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Additional monthly payments will be made to the extent necessary to make the payments to creditors specified in this plan.

2.2          Regular payments to the trustee will be made from future income in the following manner:

             Check all that apply:
                      The debtor will make payments pursuant to a payroll deduction order.
                      The debtor will make payments directly to the trustee.
                      Other (specify method of payment):


2.3 Income tax refunds.
    Check one.
                  The debtor will retain any income tax refunds received during the plan term.

                          The debtor will treat income refunds as follows:


2.4 Additional payments.
    Check one.
                  None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

 Part 3:      Treatment of Secured Claims

To receive a distribution from the trustee, a proof of claim, including adequate supporting documentation and filed in compliance with Official Rules
and Forms, must be filed with the Court. For purposes of plan distribution, a claim shall be treated as provided for in a confirmed plan. However, if a
claim is treated as secured in a confirmed plan and the affected creditor elects to file an unsecured claim, such claim, unless timely amended, shall be
treated as unsecured for purposes of plan distribution. Any creditor holding a claim secured by property that is removed from the protection of the
automatic stay by order, surrender, or through operation of the plan will receive no further distribution from the chapter 13 trustee on account of any
secured claim. This provision also applies to creditors who may claim an interest in, or lien on, property that is removed from the protection of the
automatic stay by another lienholder or released to another lienholder, unless the Court orders otherwise, but does not apply if the sole reason for its
application arises under 11 U.S.C. § 362(c)(3) or (c)(4). Any funds that would have otherwise been paid to a creditor, but pursuant to these
provisions will not be paid, will be distributed according to the remaining terms of the plan. Any creditor affected by these provisions and who has
filed a timely proof of claim may file an itemized proof of claim for any unsecured deficiency within a reasonable time after the removal of the
property from the protection of the automatic stay. Secured creditors that will be paid directly by the debtor may continue sending standard payment
and escrow notices, payment coupons, or inquiries about insurance, and such action will not be considered a violation of the automatic stay.

3.1          Maintenance of payments and cure or waiver of default, if any.

             Check all that apply. Only relevant sections need to be reproduced.

                          None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

3.2          Request for valuation of security and modification of undersecured claims. Check one.

                          None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.

3.3          Other secured claims excluded from 11 U.S.C. § 506 and not otherwise addressed herein.

             Check one.
                     None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
                     The claims listed below are being paid in full without valuation or lien avoidance.

                          These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed either by
                          the trustee or directly by the debtor, as specified below. Unless there is a non-filing co-debtor who continues to owe an
                          obligation secured by the lien, any secured creditor paid the allowed secured claim provided for by this plan shall satisfy its liens
                          at the earliest of the time required by applicable state law, order of this Court, or upon completion of the payment of its allowed
                          secured claim in this case.




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 Name of Creditor                    Collateral                             Estimated amount of claim Interest rate            Estimated monthly payment
                                                                                                                               to creditor

 CREDIT                              2014 DODGE CHARGER: TO
 ACCEPTANCE                          BE PAID IN PLAN                                    $20,738.00                 6.25%                                 $422.00
                                                                                                                               (or more)
                                                                                                                               Disbursed by:
                                                                                                                                   Trustee
                                                                                                                                   Debtor

Insert additional claims as needed.

3.4          Lien avoidance.

Check one.
                          None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

3.5          Surrender of collateral.

             Check one.
                     None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

 Part 4:      Treatment of Fees and Priority Claims

4.1       General
The debtor shall pay all post-petition priority obligations, including but not limited to taxes and post-petition domestic support, and pay regular
payments on assumed executory contracts or leases, directly to the holder of the claim as the obligations come due, unless otherwise ordered by the
Court. Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full
without postpetition interest.

4.2          Trustee’s fees

Trustee’s fees are governed by statute and may change during the course of the case.

4.3          Attorney's fees.

             a.            The debtor and the debtor’s attorney have agreed to an attorney’s fee for the services identified in the Rule 2016(b) disclosure
                           statement filed in this case. Fees entitled to be paid through the plan and any supplemental fees as approved by the Court shall be
                           disbursed by the trustee as follows: Following confirmation of the plan and unless the Court orders otherwise, the trustee shall
                           disburse a dollar amount consistent with the Judge’s guidelines to the attorney from the initial disbursement. Thereafter, the
                           balance of the attorney’s compensation as allowed by the Court shall be paid, to the extent then due, with all funds remaining
                           each month after payment of trustee fees, allowed secured claims and pre-petition arrearages on domestic support obligations. In
                           instances where an attorney assumes representation in a pending pro se case and a plan is confirmed, a separate order may be
                           entered by the Court, without further notice, which allows for the payment of a portion of the attorney’s fees in advance of
                           payments to creditors.

             b.            If, as an alternative to the above treatment, the debtor’s attorney has received a retainer and cost advance and agreed to file fee
                           applications for compensation and expenses in this case pursuant to 11 U.S.C. § 330, the retainer and cost advance shall be held
                           in trust until fees and expense reimbursements are approved by the Court. Prior to the filing of this case, the attorney has
                           received $         and for plan confirmation purposes only, the fees and expenses of counsel are estimated at $       or less.

4.4          Priority claims other than attorney’s fees and those treated in § 4.5.



             The trustee shall pay all allowed pre-petition 11 U.S.C. § 507 priority claims, other than domestic support obligations treated below, on a
             pro rata basis. If funds are available, the trustee is authorized to pay any allowed priority claim without further amendment of the plan.

             Check box below if there is a Domestic Support Obligation.


                          Domestic Support Claims. 11 U.S.C. § 507(a)(1):
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                           a.           Pre-petition arrearages. The trustee shall pay the pre-petition domestic support obligation arrearage to (state name of
                                        DSO recipient), at the rate of $       or more per month until the balance, without interest, is paid in full. Add
                                        additional creditors as needed.

                           b.           The debtor shall pay all post-petition domestic support obligations as defined in 11 U.S.C. § 101(14A) on a timely basis
                                        directly to the creditor.

                           c.           Any party entitled to collect child support or alimony under applicable non-bankruptcy law may collect those
                                        obligations from property that is not property of the estate or with respect to the withholding of income that is property
                                        of the estate or property of the debtor for payment of a domestic support obligation under a judicial or administrative
                                        order or a statute.

4.5          Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

             Check one.
                     None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.

 Part 5:      Treatment of Nonpriority Unsecured Claims

5.1          Nonpriority unsecured claims not separately classified. Check one

             Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata by the trustee to the extent that funds are
             available after payment of all other allowed claims.

                The debtor estimates payments of less than 100% of claims.
                The debtor proposes payment of 100% of claims.
                The debtor proposes payment of 100% of claims plus interest at the rate of %.

5.2          Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

                          None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

5.3          Other separately classified nonpriority unsecured claims. Check one.

                          None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

 Part 6:      Executory Contracts and Unexpired Leases

6.1          The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
             contracts and unexpired leases are rejected. Check one.

                          None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.
                          Assumed items. Current installment payments will be disbursed directly by the debtor, as specified below, subject to any
                          contrary court order or rule. Prepetition arrearage payments will be disbursed by the trustee unless otherwise ordered.


 Name of Creditor               Description of leased                Current installment           Estimated amount of             Estimated monthly
                                property or executory                payment                       arrearage through month         payment on arrearage to be
                                contract                                                           of filing or conversion         disbursed by the trustee
                                505 FARM SPRINGS
                                ROAD,
 MID AMERICA                    SUMMERVILLE, SC
 APARTMENTS                     29483                                              $1,457.00                      $4,371.00                                  $77.00
                                                                                                          (Through Oct 2019)                               (or more)

Insert additional claims as needed.

 Part 7:      Vesting of Property of the Estate

7.1          Property of the estate will vest in the debtor as stated below:

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      Check the applicable box:

              Upon confirmation of the plan, property of the estate will remain property of the estate, but possession of property of the estate shall
              remain with the debtor. The chapter 13 trustee shall have no responsibility regarding the use or maintenance of property of the estate.
              The debtor is responsible for protecting the estate from any liability resulting from operation of a business by the debtor. Nothing in the
              plan is intended to waive or affect adversely any rights of the debtor, the trustee, or party with respect to any causes of action owned by
              the debtor.

              Other. The debtor is proposing a non-standard provision for vesting, which is set forth in section 8.1. This provision will be effective
              only if the applicable box in Section 1.3 of this plan is checked and a proposal for vesting is provided in Section 8.1.

 Part 8:      Nonstandard Plan Provisions

8.1          Check "None" or List Nonstandard Plan Provisions
                    None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in
this form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.

The following plan provisions will be effective only if there is a check in the box “Included” in § 1.3.

 NOTICE: The confirmation of this plan may determine the character (secured, unsecured or priority), amount and timing of
 distribution of creditor's claim regardless of proof of claim filed. If a creditor objects to a claim's treatment under the plan,
 the creditor must timely object to confirmation.

 Statement in Support of Confirmation: Debtor understands the following: (1) The obligations set forth in the plan, including
 the amount, method and timing of payments made to the Trustee or directly to creditors; (2) The consequences of any
 default under the Plan; and (3) That debtor(s) may not agree to sell or sell property, employ professionals, incur debt
 (including modification of debt), or request or agree to mortgage modification or other loss mitigation during the pendency
 of the case without the advance authorization of the Bankruptcy Court.

 8.1(a) Reservation of Rights: Confirmation of this plan does not bar a party in interest from any actions discovered from the
 documentation, or lack thereof, in a proof of claim. The debtor specifically reserves any currently undiscovered or future
 claims, rights or cause of action the debtor may have, regarding any issues not specifically addressed or determined by the
 plan, against any creditor or other party in interest including, but not limited to, violations of applicable consumer
 protections codes and actions under 11 U.S.C. §§ 542, 543, 544, 547 and 548.

 Part 9:      Signatures:

9.1          Signatures of debtor and debtor attorney

             The debtor and the attorney for the debtor, if any, must sign below.

 X     /s/ CANDACE ANITREL PAGE                                                X
       CANDACE ANITREL PAGE                                                           Signature of Debtor 2
       Signature of Debtor 1

       Executed on            October 3, 2019                                         Executed on

 X     /s/ Heather S. Bailey                                                   Date     October 3, 2019
       Heather S. Bailey 11592
       Signature of Attorney for debtor DCID#

By filing this document, the debtor, if not represented by an attorney, or the debtor and the attorney for the debtor certify(ies) that this
Chapter 13 plan contains no nonstandard provision other than those set out in Part 8.




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                               UNITED STATES BANKRUPTCY COURT

                             FOR THE DISTRICT OF SOUTH CAROLINA

 IN RE:                                                   C/A No. 19-05007

 Candace Anitrel Page                                     Chapter 13
 (Set forth here all names including married, maiden,          CERTIFICATE OF SERVICE
 and trade names used by debtor within the last 8
 years.)
                                        DEBTOR(S),

 Address:
 505 Farm Springs Road
 Summerville, SC 29483

 Last four digits of Social Security or Individual Tax-
 Payer-Identification (ITIN) No(s)., (if any):
 5514

      THE UNDERSIGNED HEREBY CERTIFIES THAT HE/SHE HAS SERVED NOTICE OF
OPPORTUNITY TO OBJECT AND CHAPTER 13 PLAN TO ALL CREDITORS VIA REGULAR
MAIL, POSTAGE PREPAID.

U.S. Trustee
1835 Assembly Street, Suite 953
Columbia, South Carolina 29201

James M. Wyman, Chapter 13 Trustee
VIA ELECTRONIC NOTICE

SEE ATTACHED FOR ADDITIONAL PARTIES

Date: October 3, 2019                                         /s/ Jamie A. Weller
                                                              Jamie A. Weller
                                                              Moss & Associates Attorneys PA
                                                              2170 Ashley Phosphate Road, Ste. 405
                                                              North Charleston, SC 29406
                                                              (843) 744-3002
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                         ATTORNEY GENERAL OF UNITED STATES
                         950 PENNSYLVANIA AVENUE, NW
                         WASHINGTON DC 20530


                         BERKELEY COUNTY CLERK OF COURT
                         223 N LIVE OAK DRIVE
                         MONCKS CORNER SC 29461


                         BERKELEY COUNTY SHERIFFS OFFICE
                         223 N LIVE OAK DRIVE
                         MONCKS CORNER SC 29461


                         CAROLINA PAYDAY LOANS
                         320 OLD TROLLEY RD
                         SUITE E
                         SUMMERVILLE SC 29485


                         CREDIT ACCEPTANCE
                         PO BOX
                         DETROIT MI 48255


                         DEPT. OF EDUCATION/NAVIENT
                         123 JUSTISON ST
                         WILMINGTON DE 19801


                         DIVERSIFIED CONSULTANTS
                         PO BOX 551268
                         JACKSONVILLE FL 32255


                         ENHANCED RECOVERY COMPANY
                         PO BOX 57547
                         JACKSONVILLE FL 32241


                         FRANKLIN COLLECTION SERVICE
                         2978 W. JACKSON ST
                         TUPELO MS 38803


                         IRS
                         PO BOX 7346
                         PHILADELPHIA PA 19101


                         MID AMERICA APARTMENTS
                         FARMINGTON VILLAGE
                         6815 POPLAR AVENUE
                         GERMANTOWN TN 38138
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                     NAVY FEDERAL CREDIT UNION
                     113 GRANDVIEW DRIVE
                     SUMMERVILLE SC 29483


                     REGIONS BANK
                     PO BOX 2527
                     MOBILE AL 36652


                     SC DEPARTMENT OF REVENUE
                     1 SOUTHPARK CIRCLE
                     CHARLESTON SC 29407


                     US ATTORNEY GENERAL
                     ATTN DOUG BARNETT
                     1441 MAIN ST
                     SUITE 500
                     COLUMBIA SC 29201


                     USCB
                     761 SCRANTOON CARBONDALE HWY
                     UNIT 6
                     ARCHBALD PA 18403


                     WAKEFIELD & ASSOCIATES
                     PO BOX 50250
                     KNOXVILLE TN 37950


                     WOOD FOREST BANK
                     PO BOX 7889
                     SPRING TX 77387
